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                                          PLAINTIFF’S FOURTH AMENDED EXHIBIT LIST

                                                     U.S. DISTRICT COURT
                                                WESTERN DISTRICT OF NEW YORK

Case Name and Number:          Spring, et al. v. Allegany-Limestone Central School District, et al.
                               Civil Action No. 1:14-CV-00476 (JLS/HKS)

Date: October 2, 2023

PRESIDING JUDGE: Hon. John L. Sinatra

( X ) Plaintiff         ( ) Defendants

 Exhibit Number          Marked for            Admitted in            Remarks        Witness          Exhibit Description
                         Identification        Evidence
 P-1                                                                                                  Certified special education
                                                                                                      records obtained pursuant to
                                                                                                      Subpoena from the Allegany-
                                                                                                      Limestone Central School
                                                                                                      District concerning Gregory
                                                                                                      Spring
 P-2                                                                                                  Four-page excerpt from
                                                                                                      Michael Easton student files
 P-3                                                                                                  Two-page excerpt from Jacob
                                                                                                      Roewe student files
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                                                                                                   2

P-4                                                                Gregory Spring Medical
                                                                   Records from Milestone
                                                                   Psychiatric and Psychological
                                                                   Services, P.C.
P-5                                                                Gregory Spring IEPs and
                                                                   Special Education
                                                                   correspondence (2005-2011)
P-6                                                                2011 “Psychoeducational
                                                                   Evaluation” of Gregory
                                                                   Spring
P-7                                                                Email communications
                                                                   between Keri Spring and
                                                                   School Officials
P-8                                                                Certified psychological
                                                                   records obtained pursuant to
                                                                   Subpoena from the Allegany-
                                                                   Limestone Central School
                                                                   District concerning Gregory
                                                                   Spring
P-9                                                                Appearance Ticket
                                                                   (11/08/2012)
P-10                                                               Gregory Spring Buffalo
                                                                   Children’s Hospital Records
P-11                                                               Gregory Spring "Book of
                                                                   Kindergarten Memories"
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P-12                                                               Online Comments by Diane
                                                                   Lowry
P-13                                                               Gregory Spring medical
                                                                   records from Michael P.
                                                                   Santa Maria, Ph.D.
P-14                                                               Bullying Messages to
                                                                   Gregory Spring
P-15                                                               DASA Policy
P-16                                                               Bullying Policy
P-17                                                               Teacher's Report to Dr. Santa
                                                                   Maria
P-18                                                               Letter to Allegany School
                                                                   District from Eugene and
                                                                   Keri Spring (2005)
P-19                                                               Information regarding Non-
                                                                   verbal Learning Disorder
                                                                   Diagnosis of callosum
                                                                   dysgenesis and Tourette’s
P-20                                                               DASA Flowchart
P-21                                                               Gregory Spring Report Card
                                                                   (2010)
P-22                                                               E-mails between Keri Spring
                                                                   and Christopher Kenyon
                                                                   (2010)
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P-23                                                                Gregory Spring Bullying
                                                                    Complaint (2010)
P-24                                                                Gregory Spring Bulling
                                                                    Complaint (2011)
P-25*                                                               Gregory Spring Bullying
                                                                    Complaint (2012)
P-26                                                                Gregory Spring Bullying
                                                                    Complaint (1/30/2013)
P-27                                                                Correspondence from
                                                                    Allegany-Limestone Central
                                                                    School District and DASA
                                                                    Policy
P-28                                                                Letter from David N. Lichter,
                                                                    M.D. to Srinivas Thandla,
                                                                    M.D. dated July 26, 2010
P-29                                                                Urgent Care record
                                                                    (2/8/2013)
P-30                                                                Letter from Soccer Coach
P-31                                                                Gregory Spring Certificates
P-32                                                                News Articles regarding
                                                                    Gregory Spring's death and
                                                                    bullying in the Allegany-
                                                                    Limestone Central School
                                                                    District
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P-33                                                                "A Message from the
                                                                    Superintendent ...Reflection
                                                                    and Renewal" from a
                                                                    Allegany-Limestone Central
                                                                    School publication
P-34                                                                Photographs of Gregory
                                                                    Spring's artwork and welding
                                                                    work
P-35                                                                Janet Mitchell notes of
                                                                    interview with Gregory
                                                                    Spring and Gregory Spring
                                                                    notes obtained from Janet
                                                                    Mitchell
P-36                                                                Funeral Message Board
                                                                    Comment
P-37                                                                News Articles previously
                                                                    designated as Deposition
                                                                    Exhibit S7
P-38                                                                News Articles previously
                                                                    designated as Deposition
                                                                    Exhibit S8
P-39*                                                               Student Incident Report
                                                                    ("Mid-October") re: Michael
                                                                    Easton
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*Notes a change from the prior exhibit list

       1.      Plaintiff reserves the right to add or delete exhibits.

       2.      Plaintiff reserves the right to supplement this Exhibit List with additional exhibits as needed and depending on the
evidence introduced at trial.

       3.      This Exhibit List includes some anticipated rebuttal and/or impeachment exhibits.



Dated: October 4, 2023
       at Blossvale, New York
                                                               s/A.J. Bosman


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